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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



 SIERRA STUBBS and GAVIN JACKSON,


                                Plaintiffs,
                                                         Case No. 3:21-cv-01525
 v.
                                                         April 11, 2022
 HEATHER GERKEN, ELLEN COSGROVE,
 YASEEN ELDIK, and YALE UNIVERSITY,

                                Defendants.




        EMERGENCY MOTION TO EXTEND FACT DISCOVERY DEADLINES

       Pursuant to Local Rule 7(b), Defendants move for an extension of two fact discovery

deadlines set forth in the Court’s Scheduling Order and Case Management Plan (the “Scheduling

Order”), ECF No. 32, in accordance with this proposed schedule:

        Discovery Event                   Current Deadline                Proposed New Deadline

 Service of Written Discovery                 April 15, 2022                  May 31, 2022
           Requests
  Completion of Written Fact                  June 14, 2022                   July 31, 2022
          Discovery

       In support of this Motion, Defendants represent as follows:

       1.      On January 21, 2022, the Court issued the Scheduling Order, which set out the

discovery schedule for this action.

       2.      On January 26, 2022, Defendants filed a corrected motion to stay discovery, ECF

No. 34, in light of their then-anticipated motion to dismiss Plaintiffs’ Second Amended

Complaint.
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          3.    The next day, January 27, 2022, the Court denied the motion as premature without

prejudice to refiling, explaining “[t]he Court is unable to evaluate the merits of the motion to stay

without the benefit of the motion to dismiss and any responses thereto.” Order Mot. Stay, ECF

No. 35.

          4.    On February 14, 2022, the parties exchanged affirmative disclosures under

Federal Rule of Civil Procedure 26(a) in accordance with the Scheduling Order, ECF No. 32, and

the Court’s January 27, 2022 Order, ECF No. 35.

          5.    Also on February 14, 2022, Defendants filed their motion to dismiss, ECF No. 36.

Plaintiffs filed their opposition on March 17, 2022, ECF No. 40, and Defendants filed their

corrected reply on March 31, 2022, ECF No. 44. That motion is now fully briefed and pending.

          6.    On April 1, 2022, the day after filing the reply brief, Defendants filed their

renewed motion to stay discovery pending the resolution of their motion dismiss, ECF No. 45, in

accord with this Court’s January 27, 2022 Order, ECF No. 35. Under Local Rule 7, any response

by Plaintiffs is due on April 22, 2022, with any reply brief by Defendants due fourteen days later,

i.e., May 6 if the opposition is filed on the last possible day.

          7.    To date, no discovery requests have been propounded by Plaintiffs or Defendants.

          8.    Under the current schedule, the parties would need to propound all written fact

discovery—including requests for production of documents, interrogatories, and requests for

admission—on April 15, 2022, three weeks before the motion to stay discovery is fully briefed.

          9.    A brief extension of the deadline to propound all written fact discovery, and a

corresponding brief extension of the deadline to respond to that propounded discovery, would

allow this Court to issue a decision on the motion to stay discovery before the parties devote

significant time and resources to such discovery.
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         10.   Moreover, because the deadline for propounding all written fact discovery does

not distinguish between parties and non-parties, under the current deadline, both sides would also

need to serve subpoenas duces tecum to non-parties who are strangers to this lawsuit, burdening

them with the need to respond (and likely retain counsel) before this Court has decided whether

such discovery should go forward at this time. In their Rule 26(a) initial disclosures, both

Plaintiffs and Defendants identified several individuals who may have evidence relevant to this

case.1

         11.   An extension of the written discovery deadlines in accordance with the proposed

schedule would promote efficiency and could prevent unnecessary and expensive discovery, as it

would allow the parties to finish briefing—and give the Court the opportunity to rule on—

Defendants’ renewed motion to stay discovery before the parties are required to propound their

written discovery requests, potentially object to those requests, search for responsive documents,

determine if they are responsive, make privilege determinations, and produce documents.

         12.   Defendants do not seek an extension of any other deadlines in the Scheduling

Order. This motion does not seek any changes in the deadlines for, e.g., the completion of fact

discovery, the completion of expert discovery, the joint trial memorandum, or joint status

reports.

         13.   This is Defendants’ first request for an extension of time for these deadlines and

Defendants do not seek this extension for delay or any improper purpose. 2


1
  Should the Court deny Defendants’ request to extend the fact discovery deadlines, Defendants
in the alternative respectfully request that the Court extend the deadlines for non-party document
discovery, sparing non-parties from the time, effort, and expense of responding to subpoenas
before this Court has had the opportunity to determine whether discovery should proceed at all.
2
 Defendants also note that the current April 15 deadline falls on Good Friday, a state holiday in
Connecticut. April 15 is also the night when Passover begins; that day, counsel for Defendants
are, respectively, either in transit for the holiday or preparing to host a seder. Moreover, the
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       14.     Counsel for Defendants wrote to counsel for Plaintiffs asking their position on

this motion on the morning of Friday April 8, and heard back on the afternoon of Sunday April

10, with Plaintiffs indicating they do not consent.

       15.     The motion is designated an Emergency motion because, absent an order granting

this motion, the deadline to serve written discovery, including third-party written discovery,

would expire this Friday, April 15—before briefing on this motion to extend would be complete.



       WHEREFORE, Defendants respectfully request an extension of the fact discovery

deadlines set forth in the Scheduling Order as follows, extending the deadline to serve written

discovery requests from April 15, 2022 to May 31, 2022, and extending the deadline to complete

written fact discovery from June 14, 2022 to July 31, 2022. No other deadlines would be moved.




                                                      DEFENDANT YALE UNIVERSITY

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undersigned will present oral argument in person in Detroit to the Michigan Court of Appeals on
April 12. The undersigned was also slated to present oral argument to the Second Circuit this
week, on April 6, and devoted significant time to preparation until the Second Circuit canceled
the argument the night before, shortly after opposing counsel in that matter filed a motion to
withdraw their appeal.
